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 7
 8                           UNITED STATES DISTRICT COURT
 8
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
10
     HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
11
11                                                  )
12         Plaintiff,                               )
12                                                  )   PLAINTIFF HOOPA VALLEY
13         v.                                       )   TRIBE’S NOTICE AND AMENDED
13                                                  )   MOTION FOR PRELIMINARY
14   UNITED STATES BUREAU OF                        )   INJUNCTION OR, IN THE
14   RECLAMATION; DEBRA ANNE HAALAND,               )   ALTERNATIVE, MOTION FOR
15
     in her official capacity as Secretary of the   )   TEMPORARY RESTRAINING
15
16   Interior; MARIA CAMILLE CALIMLIM               )   ORDER
16   TOUTON, in her official capacity as            )
17   Commissioner of the United States Bureau of    )   Hearing Date: February 13, 2023
17   Reclamation; ERNEST A. CONANT, in his          )   Hearing Time: 9:00 AM
18   official capacity as United States Bureau of   )
18   Reclamation California-Great Basin Regional    )   Courtroom: 4 – 7th Floor, Fresno
19
     Director; and UNITED STATES                    )   Judge: Hon Jennifer L. Thurston
19   DEPARTMENT OF THE INTERIOR                     )
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                                                    )
20
21         Defendants.                              )
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27   PLAINTIFF’S NOTICE OF MOTION AND AMENDED
     MOTION FOR PRELIMINARY INJUNCTION OR TRO - 1
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1    TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD

2              PLEASE TAKE NOTICE that, on February 13, 2023, at 9:00 AM, or as soon as the
33   matter may be heard, in Courtroom 4 of the above-entitled Court, located at 2500 Tulare Street,
44   Fresno, California, the Plaintiff Hoopa Valley Tribe (“Plaintiff” or “Hoopa”), pursuant to Rule
55   65 of the Federal Rules of Civil Procedure, Local Rule 231, and all other applicable rules, will
66   and hereby does apply and move for a preliminary injunction or, in the alternative, temporary
 7
 7   restraining order, enjoining the Defendants from implementing the Trinity River Winter Flow
 8
 8   Variability Project (WFV Project) in the absence of the concurrence of the Hoopa Valley Tribe
 9
 9   and until Defendants comply with NEPA. Hoopa’s concurrence is mandated by Section
10
10   3406(b)(23) of the Central Valley Project Improvement Act (CVPIA), Public Law 102-575
11
11   (1992).
12
12             On October 31, 2022, Plaintiff filed its First Amended and Supplemental Complaint,
13
13   which contains a Ninth Claim for Relief alleging violation of Hoopa’s concurrence rights
14   pursuant to CVPIA § 3406(b)(23). Dkt. #97. On December 16, 2022, Plaintiff filed a Motion
14
15   for Preliminary Injunction to enjoin approval and/or implementation of the WFV Project in
15
16   absence of Hoopa’s concurrence, to prevent irreparable harm to the Trinity River, its fishery, and
16
17   to Hoopa. (ECF Dkt. #108). On January 11, 2023, this Court correctly noted that Defendants
17
18   had not made a final decision regarding the WFV Project as of that date and requested
18
19   supplemental briefing on the issue of whether Plaintiff’s claims relating to the WFV Project and
19
20   Defendants’ failure to seek Hoopa concurrence challenged final agency action under the APA or
20
21   were otherwise ripe. ECF Dkt. #124. Plaintiff and Defendants each responded to that order on
21
22   January 25, 2023. ECF Dkt. ## 128, 129. Plaintiff argued that, although no final decision had
22
23   been made on the WFV Project, Defendants had unlawfully failed to act – by failing to seek or
23
24   obtain Hoopa concurrence as required by statute – and that failure constituted final agency action
24
25   reviewable under the APA. Dkt. #128.
25
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27   PLAINTIFF’S NOTICE OF MOTION AND AMENDED
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1            On January 30, 2023, Defendants took final action to approve the WFV Project, with a

2    scheduled implementation commencement date of February 14, 2023. Plaintiff has filed a

33   Second Amended Complaint containing new allegations challenging the Defendants’ approval of

44   the WFV Project on grounds that Defendants failed to seek or obtain Hoopa concurrence as

55   required by CVPIA Section 3406(b)(23) and that Defendants failed to comply with NEPA. Dkt.

66   #142.

 7           This Court, on February 1, 2023, issued a Minute Order noting that the Court intended to
 7
 8   rule on Plaintiff’s pending motion for preliminary injunction as expeditiously as possible.
 8
 9           Now, following the filing of its Second Amended Complaint (Dkt. #142), Plaintiff is re-
 9
10   filing and amending its preliminary injunction motion (and in the alternative, given the imminent
10
11   implementation date, seeking a temporary restraining order).1
11
12           Plaintiff is expressly relying on and incorporating by reference herein all its prior briefing
12
13   and declarations that are on file in support of the December 16, 2022 motion for preliminary
13
14   injunction, which specifically include the following:
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15           ECF Dkt. #108 (Motion for Preliminary Injunction)
15
16           ECF Dkt. #108-1 (Memorandum in Support of Preliminary Injunction)
16
17           ECF Dkt. #109; 109-1 (Declaration of Mike Orcutt and Exhibit)
17
18           ECF Dkt. #110; 110-1 through 110-5; (Declaration of Joe Davis and Exhibits)
18
19           ECF Dkt. #111; 111-1 through 111-7) (Declaration of Thane Somerville and Exhibits)
19
20           ECF Dkt. #120 (Plaintiff’s Reply in Support of Preliminary Injunction)
20
21           ECF Dkt. #120-1 (Second Declaration of Mike Orcutt)
21
22           ECF Dkt. #128 (Supplemental Brief)
22
23
23
24   1 Defendants’ January 30, 2023 approval letter states the WFV Project will “be implemented no
24
25   sooner than February 14, 2023.” Second Amended Complaint, Dkt. #142, Exh. 36. Given the
     anticipated implementation date of Tuesday, February 14, 2023, Plaintiff hopes to obtain a ruling
25
26   from this Court on either its amended request for preliminary injunction or its alternative request
     for a TRO on or before Monday, February 13, 2023.
26

27   PLAINTIFF’S NOTICE OF MOTION AND AMENDED
     MOTION FOR PRELIMINARY INJUNCTION OR TRO - 3
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1             In addition, Plaintiff is amending its preliminary injunction filing to address the new

2    allegations in Plaintiff’s Second Amended Complaint relating to NEPA. Plaintiff is likely to

33   prevail on the merits of its NEPA claim, providing additional basis to enjoin the WFV Project.

44            This Amended Motion for Preliminary Injunction (and, in the alternative, TRO) is made

55   on the grounds that Plaintiff has demonstrated a strong likelihood of success on the merits of its

66   claim that the Defendants have violated the statutory delegation of sovereignty contained in

 7   CVPIA § 3406(b)(23) by approving the WFV Project, which will result in significant and
 7
 8   unprecedented modifications of flows mandated by CVPIA § 3406(b)(23) and the 2000 Trinity
 8
 9   River Record of Decision (ROD), without the required concurrence of the Hoopa Valley Tribe.
 9
10   Plaintiff’s claim alleging “Violation of Hoopa’s Delegated Sovereignty in CVPIA” is raised in
10
11   the Ninth Claim for Relief of Plaintiff’s Second Amended and Supplemental Complaint for
11
12   Declaratory and Injunctive Relief, ECF #142, filed 02/07/23.
12
13            Defendants’ approval of the WFV Project without Hoopa’s concurrence, as required by
13
14   CVPIA section 3406(b)(23) is “arbitrary, capricious, an abuse of discretion, or otherwise not in
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15   accordance with law,” “in excess of statutory jurisdiction, authority, or limitations,” and/or
15
16   “without observance of procedure required by law.” 5 U.S.C. § 706(2)(A), (C), (D). It also
16
17   constitutes an unlawful failure to act under the APA. 5 U.S.C. §§ 702, 706(1), 551(13). Plaintiff
17
18   is also likely to prevail on the merits of its claim that Defendants failed to comply with NEPA
18
19   with regard to the WFV Project (Second Claim for Relief, Second Amended Complaint, Dkt.
19
20   #142).
20
21            Hoopa will suffer irreparable harm unless Defendants are restrained from implementing
21
22   the Trinity River WFV Project because once such water is released, it will be unavailable for use
22
23   to implement the flows and flow regime that are mandated by CVPIA § 3406(b)(23) and the
23
24   ROD. Declarations of Michael Orcutt (ECF Dkt. #109, 120-1); Declaration of Joe Davis (ECF
24
25   Dkt. #110). Hoopa will also suffer irreparable harm to its sovereignty as reflected in CVPIA
25
26
26

27   PLAINTIFF’S NOTICE OF MOTION AND AMENDED
     MOTION FOR PRELIMINARY INJUNCTION OR TRO - 4
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1    section 3406(b)(23). The violation of NEPA also gives rise to an irreparable procedural injury.

2    The balance of hardships and the public interest strongly favors injunctive relief.

33             Plaintiff’s counsel certifies that they have satisfied required meet and confer requirements

44   in advance of filing this motion. As previously described in ECF Dkt. #108 and #111, Plaintiff’s

55   and Defendants’ counsel and representatives conferred extensively prior to the filing of

66   Plaintiff’s December 16, 2022 preliminary injunction motion without resolution. Since that date,

 7   Defendants have filed briefs affirmatively arguing against Hoopa’s right of concurrence and have
 7
 8   also approved the WFV Project without seeking or obtaining Hoopa concurrence. Plaintiff’s
 8
 9   counsel also informed Defendants’ counsel of its intent to file this Amended Motion and
 9
10   alternative TRO request in advance of filing.
10
11             Hoopa submits this Amended Motion for Preliminary Injunction, or TRO, on the papers
11
12   described above. However, Hoopa requests an opportunity to present live testimony at a hearing
12
13   on this motion if the Court concludes that material facts are in dispute and that resolution of the
13
14   conflict will determine the outcome on the motion, or if relief would be denied based on the
14
15   written evidence and argument alone. Hoopa expects a hearing, if necessary, may take 2-3
15
16   hours.2
16
17             Because counsel for both Plaintiff and Defendants are located out-of-state, Plaintiff
17
18   proposes that any hearing on this motion be conducted virtually or telephonically if possible.
18
19             DATED this 7th day of February, 2023.
19                                        MORISSET, SCHLOSSER, JOZWIAK & SOMERVILLE
20
20
21                                           /s/ Thane D. Somerville
21                                        Thane D. Somerville WSBA #31468
22                                        Thomas P. Schlosser WSBA #06276
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23                                        MORISSET, SCHLOSSER, JOZWIAK & SOMERVILLE
                                          811 First Avenue, Suite 218
23
24                                        Seattle, WA 98104
                                          Tel: 206-386-5200/Fax: 206-386-7322
24
25
     2Hoopa acknowledges that the Court, in its February 1, 2023 Minute Order, stated that it does not
25
26
     intend to hold a hearing relating to Plaintiff’s Motion for Preliminary Injunction. ECF Dkt. #133.
26

27   PLAINTIFF’S NOTICE OF MOTION AND AMENDED
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1                                      t.schlosser@msaj.com
2                                      Attorneys for Plaintiff Hoopa Valley Tribe

33

44                                   CERTIFICATE OF SERVICE
55
            I hereby certify that on February 7, 2023, I electronically filed the foregoing with the
66
     Clerk of the Court using the CM/ECF system, which will send notification of such to the
 7
 7
     attorneys of record.
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 8
 9
 9                                                        /s/ Thane D. Somerville
10                                                        Thane D. Somerville
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27   PLAINTIFF’S NOTICE OF MOTION AND AMENDED
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